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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                                   CASE NO. 20-CIV-81205-RAR

  SECURITIES AND EXCHANGE
  COMMISSION,

         Plaintiff,

  v.

  COMPLETE BUSINESS SOLUTIONS
  GROUP, INC. d/b/a PAR FUNDING, et al.,

        Defendants.
  _______________________________/

               ORDER RESETTING PRELIMINARY INJUNCTION HEARING

         THIS CAUSE comes before the Court sua sponte. On July 28, 2020, the Court entered an

  Order Granting the Securities and Exchange Commission’s Ex Parte Motion for Temporary

  Restraining Order and Other Relief [ECF No. 42] (“Order”). Pursuant to Rule 65 of the Federal

  Rules of Civil Procedure, the Order set a preliminary injunction hearing via Zoom for August 4,

  2020, or as soon thereafter as the matter can be heard. See Order at 3. The Court held status

  conferences with the parties on August 3 and August 4, 2020. See Paperless Minute Entries [ECF

  Nos. 73 and 92]. During the August 4th status conference, the Court tentatively set the preliminary

  injunction hearing for August 18, 2020 at 10:00 A.M., and the parties agreed to notify the Court if

  said date presented any conflicts. On August 5, 2020, the Securities and Exchange Commission

  filed a Notice of Defendants’ Positions on Postponing Preliminary Injunction Hearing to

  September 16, 2020 [ECF No. 94] (“Notice”). Having reviewed the Notice and being otherwise

  fully advised, it is hereby

         ORDERED AND ADJUDGED that the preliminary injunction hearing for all Defendants

  will take place on Tuesday, August 18, 2020 at 10:00 A.M. via Zoom. The Court will provide
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  information on how to join via Zoom in advance of the hearing. The parties shall adhere to the

  following briefing schedule:

         1.      The Court will hold a telephonic status conference on Monday, August 17, 2020

  at 2:30 P.M. The parties are instructed to call 1-877-402-9753 by no later than 2:25 P.M. The

  access code is 9372453 and the password is 0918. The Court requires that the parties appear via a

  landline (i.e., not a cellular phone or a speaker phone) for clarity.

         2.      On or before Tuesday, August 11, 2020 at 12:00 P.M., Plaintiff shall deliver two

  hard copy sets of its witness list and pre-marked exhibits to Chambers. Plaintiff shall provide the

  witness list and pre-marked exhibits to Defendants electronically by the same deadline.

         3.      Defendants are granted leave to file memoranda in opposition to the preliminary

  injunction on or before Friday, August 14, 2020 at 12:00 P.M. Each memorandum in opposition

  shall not exceed 40 pages.

         4.      Any Defendants who plan to call witnesses or present exhibits shall deliver two

  hard copy sets of their witness list and pre-marked exhibits to Chambers by Friday, August 14,

  2020 at 12:00 P.M. Defendants shall provide their witness list and pre-marked exhibits to Plaintiff

  electronically by the same deadline.

         5.      Plaintiff shall deliver two hard copy sets of any supplemental evidence to Chambers

  on or before Friday, August 14, 2020 at 12:00 P.M. Plaintiff shall provide the supplemental

  evidence to Defendants electronically by the same deadline.

         DONE AND ORDERED in Fort Lauderdale, Florida, this 5th day of August, 2020.




                                                         _____________________________
                                                         RODOLFO A. RUIZ II
                                                         UNITED STATES DISTRICT JUDGE
  Copies to: Counsel of Record
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